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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



Ian Olson,                                       Case No. 21-cv-1576 (ECT/ECW)

                 Plaintiff,

 v.                                                   ORDER OF RECUSAL

 Macalester College

                Defendant.



       Pursuant to the provisions of 28 U.S.C. § 455(a), the undersigned hereby recuses

herself in this matter.



DATED: June 7, 2022                             s/Elizabeth Cowan Wright
                                                ELIZABETH COWAN WRIGHT
                                                United States Magistrate Judge
